  Case: 1:19-cv-00189-MRB Doc #: 125 Filed: 09/16/21 Page: 1 of 3 PAGEID #: 3564




                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

SLUSH PUPPIE LIMITED,                       )
                                            )
                      Plaintiff,            )      Case No: 1:19-cv-00189-MRB
                                            )
                      v.                    )      JUDGE MICHAEL R. BARRETT
                                            )
THE ICEE COMPANY,                           )
                                            )
                      Defendant.            )

  PLAINTIFF SLUSH PUPPIE LIMITED’S MOTION FOR LEAVE TO FILE UNDER
      SEAL PLAINTIFF’S MOTION TO EXCLUDE DEFENDANT THE ICEE
                COMPANY’S EXHIBIT 34 AS INADMISSIBLE

        Pursuant to S.D. Ohio Civ. R 5.2.1, Plaintiff Slush Puppie Limited (“SPL”) hereby moves

the Court for an Order allowing it to file under seal its Motion to Exclude Defendant The ICEE

Company’s Exhibit 34 as Inadmissible, in order to protect information that the parties have

agreed not to disclose publicly. (See Doc. 25.) Good cause in support of this Motion exists

because SPL cites to testimony set forth in the sealed preliminary injunction hearing transcript

dated August 30, 2021.

        Immediately upon the Court’s ruling of this Motion, SPL will file its Motion to Exclude

Defendant the ICEE Company’s Exhibit 34 as Inadmissible to allow adjudication. A proposed

order accompanies this Motion.

                                            Respectfully submitted,

                                            BENESCH, FRIEDLANDER,
                                             COPLAN & ARONOFF LLP

                                            /s/ Eric Larson Zalud
                                            Eric Larson Zalud (0038959)
                                            Laura Kogan (0093369)
                                            200 Public Square, Suite 2300
                                            Cleveland, OH 44114


15028828 v1
Case: 1:19-cv-00189-MRB Doc #: 125 Filed: 09/16/21 Page: 2 of 3 PAGEID #: 3565




                                    (216) 363-4500 - Telephone
                                    (216) 363-4588 - Facsimile
                                    ezalud@beneschlaw.com
                                    lkogan@beneschlaw.com

                                   Jennifer M. Turk (0073781)
                                   41 South High Street, Suite 2600
                                   Columbus, Ohio 43215
                                   (614) 223-9300 – Telephone
                                   (614) 223-9330 – Facsimile
                                   jturk@beneschlaw.com

                                   Attorneys for Plaintiff Slush Puppie Limited




                                      2
  Case: 1:19-cv-00189-MRB Doc #: 125 Filed: 09/16/21 Page: 3 of 3 PAGEID #: 3566




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2021, a copy of this document was filed

electronically. Notice of this filing will be sent by operation of the Court’s case management

and electronic filing system. Parties may access this filing through the Court’s case management

and electronic filing system.

                                            /s/ Eric Larson Zalud




                                               3
